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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 015 gun 23 fm 82 he
Western Division `” '

UNITED STATES OF AMERICA

 

-v- Case No. 2:05cr20285-D

MARVIN WILSON

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federai, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretn'al Services Offlce, Probation Office, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraigmnent in the United States Courthouse and
Federal Building in Courtroom M-3, 9m FLOOR on WEDNESDAY, AUGUST 24, 2005, at 9:30 AM.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions
0 execute a bond in the amount of $5,000.00 or an agreement to forfeit upon failure to appear as required, and
post with the following amount of money to be deposited into the registry of the Court: W/IO% CASH
DEPOSIT WITH THE CLERK OF COURT.
0 report as directed by the Pretrial Services Office.

0 abide by the following restrictions on personal association, place of abode, or travel: Defendant is restricted
in residence and travel to the Western District of Termessee without prior approval of Pretn'al Services.

0 refrain from possessing a fireann, destructive device, or other dangerous weapon. All firearms shall be turned
in within 24 hours to Mr. Hansom.

ADVICE OF PENALT|ES AND SANCT|ONS

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AO 199A Order Sett|ng Conditions of Releasa

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TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of irnprisonment, a fme, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than S250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted,

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions ofrelease, to appear as directed, and to siurender for service of any sentence imposed l am aware

of the penalties and sanctions set forth above. M

Signature of Defendant

MARVIN WILSON

4108 SPRINGHOLLOW DRIVE
MEMPHIS, TN 38115
901-369-6275

AO 199A Order Setting Conditions of Retease -2-

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DlRECTlONS TO THE UN|TED STATES MARSHAL

|Il The defendant is ORDERED released after processing

`E/ The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: August 22, 2005 \_/L/\" v "\.___,
TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

Ao 199A order sean conditions 01 Release -3-

 

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CR-20285 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

